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Matthew Probus

From:                              Matthew Probus
Sent:                              Tuesday, March 18, 2014 9:55 AM
To:                                Pam Rea
Cc:                                Tim Helm; Jack M. Terry
Subject:                           RE: ELITEER: Invoice for laptops


Pam:

I checked the Secretary of State website myself. That entity forfeited its charter in February of 2007. I did an internet
search with its name and nothing appears at all. I will direct a letter to the fax number on the invoice today. Since this
has been a long standing and trusted vendor of yours, can you please provide me with the name of the person who is
responsible for its operations that you deal with over there so that when I call I can be talking to the right person?

Sincerely,

Matt


WAUSON|PROBUS
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Sugar Land, Texas 77478
(281) 242-0303 (Telephone)
(281) 242-0306 (Facsimile)
mbprobus@w-plaw.com



From: Pam Rea [mailto:pamrea@pamrealaw.com]
Sent: Monday, March 17, 2014 7:57 PM
To: Matthew Probus
Cc: Tim Helm
Subject: ELITEER: Invoice for laptops

Matt,

I was out of town all of last week and had limited ability to retrieve email. After reading your email
today, I contacted Jack Terry, who advised that my office had sent an invoice showing my office as
being the location of the computer that belongs to EliteER. He said that Tim had provided only an
invoice that showed my (now former) office as the location for the computer vendor. I was stunned
and apologized to Jack for the obviously gross error on the part of my spouse, as we have
consistently communicated to Dr. Charles and Mr. Terry that the computer, along with another one,
was delivered immediately in August 2013, at the client's request, to a forensic computer company for
analysis. That company has never had an office in the same building as me, and is merely a trusted
vendor that I have used in the past. Mr. Terry continued by telling me that you all had searched the
company name with the Secretary of State and had found that no such company existed, and that
there was no known address or telephone number that could be found, nor had one been provided by
my office.

                                                             1
                                                        Exhibit "B"
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Appalled, I confronted my spouse about this situation, and felt embarrassed for a second time --- this
time, because I had believed the inaccurate representation and reacted upon it blindly without first
obtaining the correct facts. Tim forwarded to me the below email he sent to Jack Terry on Feb. 27,
2014, which contains an invoice that seems fairly straight forward to me.

My address (now former address) was listed by the vendor as the recipient of the invoice. The
vendor's business address, telephone number, fax number and EIN are listed at the bottom of the
invoice. I am forwarding (below) the email sent to Mr. Terry with the attachment he received from
Tim.

Additionally, to make sure that the image I was able to view, when I opened the email attachment,
was visible to anyone who received the email, I printed out the attachment, and can clearly see the
vendor's name, address, phone numbers and EIN in that print out, as well as in the PDF.

In terms of why this EliteER computer remains with the vendor, Dr. Charles will likely recall that
EliteER discontinued payments on his case, and I was unable to pay this vendor. Prior to filing
bankruptcy, Dr. Charles has met with both me and with Tim, and has had numerous telephone
discussions with me, in which he promised to pay EliteER's very large outstanding debt. Throughout,
this vendor was made aware that we were awaiting payment and agreed that he would continue to
maintain this computer in his vault, so that chain of custody would remain pristine, in the event that
EliteER ended up in litigation in which the data on this computer became necessary. Based on the
factual information provided by the client, and his beliefs, the primary value of EliteER's computer was
in the information contained upon it.

Additionally, the vendor --even without payment -- did release one of the computers (not used by the
suspect employee) back to EliteER last fall on Tim's request, so that Elisa Patterson could conduct
business for the company.

In short, I do not have or control the computer. My office provided the correct information as to the
computer's whereabouts to Mr. Terry when he asked for it by forwarding him the invoice containing
the necessary information.

I hope this information assists you with your task. If you would like to contact me, I am back in town,
and welcome your calls to (832) 286-8919.

Pam Rea

----- Forwarded Message -----
From: Tim Helm <timhelm@pamrealaw.com>
To: "pamrea@pamrealaw.com" <pamrea@pamrealaw.com>
Sent: Monday, March 17, 2014 7:05 PM
Subject: Fw: Invoice for laptops



----- Forwarded Message -----
From: Tim Helm <timhelm@pamrealaw.com>
To: "jackmterry3@gmail.com" <jackmterry3@gmail.com>
Sent: Thursday, February 27, 2014 12:10 PM
Subject: Invoice for laptops

Jack,

                                                      2
                                                 Exhibit "B"
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Please see attached.

Tim Helm




                                            3
                                        Exhibit "B"
